                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


TRANSFORMATIONS, INC.                  )
                                       )
v.                                     )         NO. 3:05-0052
                                       )         JUDGE ECHOLS
EATON CORPORATION                      )


                                   O R D E R

       Pursuant to the Joint Stipulation of Dismissal With Prejudice

by All Parties (Docket Entry No. 48), this action is hereby

dismissed with prejudice pursuant to Rule 41(a) of the Federal

Rules of Civil Procedure.

       IT IS SO ORDERED.




                                           ROBERT L. ECHOLS
                                           UNITED STATES DISTRICT JUDGE




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